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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

    ROBERT DEDMON,                             §
        Plaintiff                              §
                                               §
    v.                                         §       CIVIL ACTION NO.
                                               §         4:21-cv-03371
    SHELL EXPLORATION &                        §
    PRODUCTION COMPANY AND                     §
    SHELL TRADING SERVICES                     §
    COMPANY,                                   §       JURY DEMANDED
        Defendants                             §

               DEFENDANTS’ FIRST AMENDED TRIAL WITNESS LIST

     NO.            WITNESS NAME                        WITNESS ADDRESS
    1.     Robert Dedmon                       c/o Amy Gibson and David Wiley,
                                               Gibson Wiley PLLC
                                               1500 Jackson Street, #109
                                               Dallas, Texas 75201
            Live          Deposition
            Fact          Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Mr. Dedmon is the Plaintiff in this case and will provide testimony
           regarding his claims in this case, including his hiring, compensation, job
           grade, and employment, as well as other topics relating to allegations in
           Plaintiff’s First Amended Complaint.
    2.     Michael Tickle                      c/o Marlene Williams, Ogletree,
                                               Deakins, Nash, Smoak & Stewart,
                                               P.C., 500 Dallas Street, Suite 2100,
                                               Houston, TX 77002
            Live          Deposition
            Fact          Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Mr. Tickle was Plaintiff’s supervisor during a significant period of his
           employment. Mr. Tickle will provide testimony about Plaintiff’s
           performance, compensation, job grade, and employment, and the
           performance, compensation and job grade classifications of Plaintiff’s
           peers during the relevant time period, as well as other topics relating to
           the allegations in Plaintiff’s First Amended Complaint.

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    3.     Jennifer Hartnett                   c/o Marlene Williams, Ogletree,
                                               Deakins, Nash, Smoak & Stewart,
                                               P.C., 500 Dallas Street, Suite 2100,
                                               Houston, TX 77002
            Live           Deposition
            Fact           Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Ms. Hartnett was involved in Plaintiff’s hiring and was a supervisor
           during a portion of his employment. Ms. Hartnett will provide testimony
           about Plaintiff’s performance, compensation, job grade, and employment
           during the period that she was his supervisor, as well as other topics
           relating to the allegations in Plaintiff’s First Amended Complaint.

    4.     Erin Verdon                         c/o Marlene Williams, Ogletree,
                                               Deakins, Nash, Smoak & Stewart,
                                               P.C., 500 Dallas Street, Suite 2100,
                                               Houston, TX 77002
            Live           Deposition
            Fact           Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Ms. Verdon is VP of HR in Trading and Supply at Shell and will provide
           testimony about certain of Defendant’s policies and procedures related
           to Plaintiff’s performance, compensation, job grade, and employment, as
           well as other topics relating to the allegations in Plaintiff’s First
           Amended Complaint.

    5.     Michael Deley                       c/o Marlene Williams, Ogletree,
                                               Deakins, Nash, Smoak & Stewart,
                                               P.C., 500 Dallas Street, Suite 2100,
                                               Houston, TX 77002
            Live           Deposition
            Fact           Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Mr. Deley was one of Plaintiff’s colleagues during a portion of his
           employment at Shell. Mr. Deley will provide testimony about the open
           JG4 position at Shell in 2021 and his application for the position, as well
           as other topics relating to the allegations in Plaintiff’s First Amended
           Complaint.

    6.     Christopher Riley                   c/o Marlene Williams, Ogletree,
                                               Deakins, Nash, Smoak & Stewart,
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                                               P.C., 500 Dallas Street, Suite 2100,
                                               Houston, TX 77002
            Live          Deposition
            Fact          Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Mr. Riley was a manager over Plaintiff’s department for a portion of
           Plaintiff’s employment. Mr. Riley will provide testimony about
           Plaintiff’s performance, compensation, job grade, and employment, as
           well as other topics relating to the allegations in Plaintiff’s First
           Amended Complaint.

    7.     Teri Omen
           3003 Eagle Ridge Way
           Houston, Texas 77084

            Live          Deposition
            Fact          Expert        Record Custodian
           Brief description of witness capacity and testimonial topics:
           Ms. Olmen is a former Human Resources professional at Shell. Ms.
           Olmen will provide testimony about events related to Plaintiff’s
           application for employment and hiring in 2014, Shell’s job grade
           classifications and compensation in Plaintiff’s group in 2014, as well as
           other topics relating to the allegations in Plaintiff’s First Amended
           Complaint.

                                       Respectfully submitted,

                                       /s/ Marlene C. Williams
                                       Marlene C. Williams
                                       State Bar No: 24001872
                                       OGLETREE, DEAKINS, NASH,
                                       SMOAK & STEWART P.C.
                                       500 Dallas Street, Suite 2100
                                       Houston, Texas 77002-4709
                                       (713) 655-5750
                                       (713) 655-0020 (Fax)
                                       marlene.williams@ogletreedeakins.com

                                       ATTORNEYS FOR DEFENDANTS

                           CERTIFICATE OF SERVICE


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           I hereby certify that on March 6, 2025, I electronically submitted the
   foregoing document with the clerk of the court for the U.S. District Court, Southern
   District of Texas – Houston Division, using the electronic case files system of the
   court. The electronic case files system sent a “Notice of Electronic Filing” to the
   following CM/ECF participants:

               Ms. Amy E. Gibson                  Ms. Amanda C. Hernandez
               amy@gwfirm.com                     amanda@ahfirm.com
               Mr. David L. Wiley                 AH Law, PLLC
               david@gwfirm.com                   5718 Westheimer, Suite 1000
               Gibson Wiley PLLC                  Houston, Texas 77057
               1500 Jackson Street #109
               Dallas, Texas 75201-4923


                                                        /s/ Marlene C. Williams
                                                        Marlene C. Williams




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